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Case: 1:20-cv-00241-SA-DAS Doc #: 40-3 Filed: 12/30/21 28 of 54 PageID #: 610
Case: 1:20-cv-00241-SA-DAS Doc #: 40-3 Filed: 12/30/21 29 of 54 PageID #: 611
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Case: 1:20-cv-00241-SA-DAS Doc #: 40-3 Filed: 12/30/21 34 of 54 PageID #: 616
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